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                                                                   CLr?R!<, U.S. DiST ICT COURT -


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  2                                                             CENTRAL DfSTRIC     C IFORNIq
                                                                EASTERN DIVISION
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  8                                  UNITED STATES DISTRICT COURT
  9                             CENTRAL DISTRICT OF CALIFORNIA
 10
      UNITED STATES OF AMERICA,                          Case No.: ~'~. ~~~rn~-
 11
                               Plaintiff,                ORDER OF DETENTION PENDING
 12                                                      FURTHER REVOCATION
                       v.                                PROCEEDINGS
 13                                                      (FED. R. CRIM. P. 32.1(a)(6); 18
      ~~yn A           ~o,-►~ ~~~.v e-~-i                U.S.C. § 3143(a)(1))
 14
                               Defendant.
 15
 16         The defendant having been arrested in this District pursuant to a warrant
 17 issued by the United States District Court for the ~QJ~z^-~~                        District of
 18    ~~ ~ ~~          r~for alleged violations) of the terms and conditions of probation
 19 or supervised release; and
20          Having conducted a detention hearing pursuant to Federal Rule of Criminal
21    Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
22 A. (~,        The defendant has not met his/her burden of establishing by clear and
23               convincing evidence that he/she is not likely to flee if released under 18
24               U.S.C. § 3142(b) or (c). This finding is based on the following:
25               ('~        information in the Pretrial Services Report and Recommendation
26               (~         information in the violation petition and reports)
27               ( )        the defendant's nonobjection to detention at this time
28               ( )        other:


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   1             and/ or
  2 B.(~         The defendant has not met his/her burden of establishing by clear and
  3              convincing evidence that he/she is not likely to pose a danger to the safety
  4              of any other person or the community if released under 18 U.S.C.
  5              § 3142(b) or (c). This finding is based on the following:
  6             (`~(~   information in the Pretrial Services Report and Recommendation
  7             (~      information in the violation petition and reports)
  8             () the defendant's nonobjection to detention at this time
  •~ l          () other:
 [I Il

 11      IT THEREFORE IS ORDERED that the defendant be detained pending the further
 12 revocation proceedings.
 13
 14 Dated: N ~v'c.~,,1s~ ~ 7~ Zo 2~
 15                                                   United States Magistrate Judge
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